                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

CARPENTERS DISTRICT COUNCIL                  )
OF KANSAS CITY PENSION FUND,                 )
et al.,                                      )
                                             )
                       Plaintiffs,           )
                                             )
       v.                                    )      Case No. 13-00968-CV-W-BP
                                             )
RICHARDSON DRYWALL, LLC,                     )
                                             )
                       Defendant.            )

                                            ORDER

       This case comes before the Court on Plaintiffs’ Motion for Default Judgment. (Doc. 4.)

       Plaintiffs filed their Complaint on October 3, 2013.        (Doc. 1.)    Plaintiffs served

Defendant on October 8, 2013. (Doc. 3.) Defendant did not answer or otherwise respond within

the time afforded by Federal Rule of Civil Procedure 12(a)(1)(A). Plaintiffs moved for an entry

of default and default judgment. Defendant did not file a response to these motions. The Court

issued an Order to Show Cause, directing Defendant to show why default and default judgment

should not be entered. (Order, Doc. 7.) Defendant did not respond to this Order, and the time

for doing so passed. The Clerk then entered default against Defendant. (Doc. 8.)

       Accordingly, Plaintiffs’ Motion for Default Judgment, (Doc. 4), is GRANTED. Fed. R.

Civ. P. 55. Default judgment is hereby ENTERED against Defendant Richardson Drywall, LLC.

       It is further ORDERED that:

            •   Defendant shall permit an accounting of its business books, records, ledgers and
                other documents pertaining to the compensation paid to employees, hours worked by
                employees, monies withheld from employees for taxes paid on account of
                employees, and any additional records or documents relevant to determining the
                total number of hours worked and/or paid to employees under the collective
                bargaining agreements and Trust Agreement for the period of July 1, 2012 to date.




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           •   Plaintiffs shall recover from Defendant unpaid fringe benefit contributions equal to
               the number of hours found by said accounting to have been paid to employees
               covered by said agreements times the hourly amounts due under said agreements.
               The assessment of liquidated damages, attorneys’ fees, audit costs, interest, court
               costs and judgment for same is reserved until a full accounting has been completed
               and the specific total amounts Defendant owes Plaintiffs for said time period is
               ascertained.

           •   Defendant shall specifically perform the provisions of the collective bargaining
               agreements and Trust Agreements, present and future, relating to the reporting and
               payment of fringe benefits contributions to Plaintiffs on behalf of employees
               working under the collective bargaining agreements.

           •   Defendant shall put up cash deposits in advance of work and/or enter into an escrow
               arrangement with Plaintiffs or post a corporate bond guaranteeing performance
               under the collective bargaining agreement and Trust Agreement.

           •   Defendant shall maintain records with respect to each employee sufficient to
               determine the fringe benefits due or which may become due to such employees as
               required by Section 209 of the Employee Retirement Income Security Act of 1974,
               29 U.S.C. §1059.

       The Clerk’s Office shall mail a copy of this Order, by regular and certified mail, to

Defendant at the following address:

       John L. Williams
       Registered Agent for Richardson Drywall, LLC,
       d/b/aMRD Construction,
       d/b/a Richardson Drywall, LLC
       600 Broadway, Suite 230
       Kansas City, MO 64105

       IT IS SO ORDERED.
                                                     /s/ Beth Phillips
                                                     BETH PHILLIPS, JUDGE
                                                     UNITED STATES DISTRICT COURT

DATE: 12/19/2013




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